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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-277V
                                          UNPUBLISHED


    CORTEZ TOLIVER,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: February 15, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine;; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Steven Santayana, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

      On January 7, 2021, Cortez Toliver filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) following the administration of an influenza vaccine
administered on November 5, 2018. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On February 6, 2023, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for a SIRVA. On February 14, 2023, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $45,000.00. Proffer
at 1. In the Proffer, Respondent represented that Petitioner agrees with the proffered

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $45,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                 THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 CORTEZ TOLIVER,

                        Petitioner,

 v.                                                    No. 21-277V

 SECRETARY OF HEALTH AND                               Chief Special Master Brian H. Corcoran
 HUMAN SERVICES,

                        Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On January 7, 2021, Cortez Toliver (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986 (“the Vaccine Act” or “the Act”), 42 U.S.C.

§§ 300aa-1 to -34, as amended, alleging that he suffered Shoulder Injury Related to Vaccine

Administration (“SIRVA”), following administration of an influenza vaccine he received on

November 5, 2018. Petition at 1. On January 31, 2023, the Secretary of Health and Human

Services (“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for

compensation under the terms of the Act for SIRVA, and February 6, 2023, the Chief Special

Master issued a Ruling on Entitlement finding petitioner entitled to compensation. ECF No. 26;

ECF No. 27.

Items of Compensation

       Respondent proffers that petitioner should be awarded $45,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.




                                                 1
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Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $45,000.00, in the form of a

check payable to petitioner.

Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Cortez Toliver:                               $45,000.00


                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      TRACI R. PATTON
                                                      Assistant Director
                                                      Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                          /s/ Steven C. Santayana _____
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Dated: February 14, 2023




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